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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
               Case Number:__________________-CV-_____________________


NICHOLAS PAGAN,
               Plaintiff,
V.
RICHEMONT NORTH AMERICA, INC.
               Defendant.
_____________________________________/



                                              COMPLAINT
       NICHOLAS PAGAN (“Plaintiff Pagan” or “Plaintiff”), seeks a permanent injunction requiring a

change in RICHEMONT NORTH AMERICA, INC. (“Defendant” or the “Company”) corporate polices

to cause Defendant’s website to become, and remain, accessible and in support thereof asserts as follows:

                                           INTRODUCTION

       1.      Plaintiff brings this action against Defendant and asserts that its website is not accessible
to blind and visually impaired consumers in violation of Title III of the Americans with Disabilities

Act, 42 U.S.C. § 12101 et seq. (the “ADA”). Plaintiff seeks a permanent injunction to cause a change

in Defendant’s corporate policies related to its web-based technologies so that Defendant’s website will

become, and will remain, accessible. The website at issue is www.cartier.com (the “Website”).

       2.      While the increasing pervasiveness of digital information presents an unprecedented

opportunity to increase access to goods and services for people with perceptual or motor disabilities,

website developers and web content developers often implement digital technologies without regard to

whether those technologies can be accessed by individuals with disabilities. This is notwithstanding the

fact that accessible technology is both readily available and cost effective.

        3.     Blind and visually impaired consumers must use screen reading software or other assistive
technologies in order to access website content. Defendant’s Website contains digital barriers which limit

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the ability of blind and visually impaired consumers to access the site.

        4.     Plaintiff has patronized Defendant’s Website in the past, and intends to continue to

patronize Defendant’s Website. However, unless Defendant is required to eliminate the access

barriers at issue, and required to change its policies so that access barriers do not reoccur on Defendant’s

Website, Plaintiff will continue to be denied full access to the Website as described, and will be deterred

from fully using Defendant’s Website.

       5.      The ADA expressly contemplates the type of injunctive relief that Plaintiff seeks in this
action. In relevant part, the ADA requires:

                [i]n the case of violations of . . . this title, injunctive relief shall include an order
       to alter facilities to make such facilities readily accessible to and usable by individuals
       with disabilities....Where appropriate, injunctive relief shall also include requiring the .
       . . modification of a policy. . . 42 U.S.C. § 12188(a)(2).

       6.      Because Defendant’s Website has never been accessible and because Defendant does not

have, nor has ever had based upon information and belief, a corporate policy that is reasonably

calculated to cause its Website to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2)

and seeks a permanent injunction requiring:



              a)     that Defendant retain a qualified consultant acceptable to Plaintiff (“Mutually
       Agreed Upon Consultant”) who shall assist it in improving the accessibility of the Website so that it
       complies with version 2.0 of the Web Content Accessibility Guidelines (“WCAG 2.0 AA”);

               b)     that Defendant work with the Mutually Agreed Upon Consultant to ensure that
       all employees involved in website development and content development be given web accessibility
       training on a periodic basis calculated to achieve ongoing compliance with WCAG 2.0 AA;

              c)     that Defendant work with the Mutually Agreed Upon Consultant to perform an
       automated accessibility audit on a periodic basis to evaluate whether Defendants’ Website continues
       to comply with WCAG 2.0 AA on an ongoing basis;

              d)      that Defendant work with the Mutually Agreed Upon Consultant to perform end-
       user accessibility/usability testing on a periodic basis with said testing to be performed by
       individuals with various disabilities to evaluate whether Defendants’ Website continues to
       comply with WCAG 2.0 AA on an ongoing basis; and,


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                e)       that Defendant work with the Mutually Agreed Upon Consultant to create an
         accessibility policy that will be posted on the Website, along with an e-mail address and toll
         free phone number to report accessibility-related problems because web-based technologies
         have features and content that are modified on a daily, and in some instances an hourly, basis,
         and a one time “fix” to an inaccessible website will not cause the website to remain accessible
         without a corresponding change in corporate policies related to those web-based technologies.
         To evaluate whether an inaccessible website has been rendered accessible, and whether
         corporate policies related to web- based technologies have been changed in a meaningful
         manner that will cause the website to remain accessible, the website must be reviewed on
         periodic basis using both automated accessibility screening tools and end user testing by
         disabled individuals.

                                        JURISDICTION AND VENUE

         7.     This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42 U.S.C. §

12188.

         8.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant does

substantial business in this judicial district.

         9.      Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(2) in that this is the
judicial district in which a substantial part of the acts and omissions giving rise to the claims occurred.

                                                      PARTIES

         10.    Plaintiff Pagan and, at all times relevant hereto, has been a resident of the State of

Florida. Plaintiff Pagan is and, at all times relevant hereto, has been legally blind and is therefore a

member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the regulations implementing

the ADA set forth at 28 CFR §§ 36.101 et seq.

         11.    Defendant, RICHEMONT NORTH AMERICA, INC., is a for profit corporation that

transacts business activity on a large scale in this judicial district. Defendant operates physical retail stores

in the State of Florida and specifically at 6000 Glades Road, Suite 1069, Boca Raton, FL 33431 which

Plaintiff would and has intended to frequent if not for the digital access barriers that impede his ability

to visit the brick and mortar location.



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       12.     Defendant owns operates and maintains brick and mortar retail stores in the State of

Florida. Defendant’s retail stores offer goods and services to the public. Defendant also offers goods

and services to the public through the Website. Defendant’s brick and mortar retail store and website

are integrated and are public accommodations pursuant to 42 U.S.C. § 12181(7).

                         FACTUAL BACKGROUND AND ALLEGATIONS


       13.     The Internet has become a significant source of information and a means for conducting

everyday activities such as shopping, banking, etc. for both sighted and blind and visually-impaired persons,

as well as individuals with other perceptual or motor disabilities.

       14.     Blind individuals may access websites by using keyboards in conjunction with screen reader

software that converts text to audio. Screen reader software provides the primary method by which a blind

person may independently use the Internet. Unless websites are designed to be read by screen reader

software, blind individuals are unable to fully access websites and the information, products and services

available through the sites. The international website standards organization, W3C, has published WCAG

2.0 AA. WCAG 2.0 AA provides widely accepted guidelines for making websites accessible to

individuals with disabilities. These guidelines have been endorsed by the United States Department

of Justice and numerous federal courts.

       15.     Plaintiff is permanently blind and uses screen reader software in order to access the Internet

and website content.

       16.     Through the Website, Defendant offers listings of retail items, pricing of retail items,

address to the retail store, ability to conduct a transaction on the website and phone number.

       17.     However, Defendant’s website is improperly coded as to dis-allow Plaintiff, and others

with visual disabilities, to adequately access this information as the Website is not compatible with the

most popular screen reader software.


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        18.     If Defendant’s Website were coded properly, Plaintiff would be able to know what the

retail items are, be able to determine the price of an item, find the closets physical store, determine which

determine if Plaintiff can afford the items for sale at the store and then travel to said store to utilize the

currently inaccessible information on the website to patronize the store as a sighted person might.

        19.     However, because the Defendant’s Website is not accessible to visually impaired

individuals like Plaintiff, Plaintiff is unable to know what items are featured in the store, unable to

determine the store location, unable to determine whether he can afford the retail items for sale, unable to

determine the phone number of the store, and therefore unable to patronize Defendant’s physical store as

a sighted person might.

        20.     There is a physical nexus between Defendant’s website and physical store establishment in

that the website provides the telephone contact information, the actual location of store and access to

descriptions of items found at the location. Plaintiff has been denied access to this information based on

Defendant’s improperly coded website that is incompatible with Plaintiff’s screen reader software and

therefore unable to adequately patronize Defendant’s brick and mortar store in a substantially equal manner

to that of a person with full visual faculties.

        21.     Despite several attempts to use and navigate the Website, due to the access barriers on the

Defendant’s Website, Plaintiff has been denied the full use and enjoyment of the facilities, goods and services

available on the Website and at Defendant’s retail store.

        22.     The barriers at the Website have caused a denial of Plaintiff’s full and equal access multiple

times in the past. These digital barriers deter Plaintiff from attempting to use Defendant’s website and

visiting Defendant’s physical brick and mortar retail store. However, Plaintiff intends to use the

website in the future and access Defendant’s store once the Website becomes accessible.

        23.     The access barriers at the Website that Plaintiff has encountered include but are not


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limited to, the following:


                         a)    Text equivalent for every non-text element is not provided;
                   b) Information about the meaning and structure of the Website’s content is not conveyed
             by more than the visual presentation of content;
                   c) When the sequence in which content is presented affects its meaning, a correct reading
             sequence cannot be programmatically determined;

                        d)     Web pages do not have titles that describe topic or purpose; and,

                       e)    Images on the website are not explained to the user with use of a screen
                reader program;


       24.      If the Website were accessible, Plaintiff could independently shop for and research retail

items via Defendant’s website, then utilize that information to visit and shop at Defendant’s brick and

mortar store.

       25.      Upon information and belief, Defendant has never had a plan or policy that is reasonably

calculated to make its Website fully accessible to, and independently usable by blind people.

       26.      Plaintiff is without adequate remedy at law, is suffering irreparable harm, and reasonably

anticipates that he will continue to suffer irreparable harm unless and until Defendant is

       required to modify its website to correct the discriminatory conditions as set forth herein. The

relief requested serves the public interest and the benefit to Plaintiff and the public far outweigh any

detriment to Defendant.

       27.      Without injunctive relief, Plaintiff and other blind individuals will continue to be unable to

independently use the Website in violation of their rights under the ADA.

       28.      Plaintiff has been obligated to retain the undersigned counsel for the filing and prosecution of

this action, and has agreed to pay the undersigned counsel reasonable attorney’s fees, costs, and expenses

from Defendant pursuant to 42 U.S.C. § § 12205 and 12117, and Plaintiff is entitled to attorney’s fees, costs,


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and expenses from Defendant.


                                    SUBSTANTIVE VIOLATION
                 (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

        29.     The allegations contained in paragraphs 1 through 31 are re-alleged herein.

        30.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides: “No individual

shall be discriminated against on the basis of disability in the full and equal enjoyment of the goods,

services, facilities, privileges, advantages or accommodations of any place of public accommodation

by any person who owns, leases (or leases to), or operates a place of public accommodation.” 42 U.S.C.

        § 12182(a).

        31.     Defendant’s retail store and integrated website are public accommodations within the

definition of Title III of the ADA, 42 U.S.C. § 12181(7).

        32.     There is a physical nexus between Defendant’s website and physical store in that the Website

provides the contact information of the store, listing of items, and access to detailed information on the location

of the store.

        33.     This information cannot be presented to Plaintiff, and others with visual disabilities, due to the

inaccessible nature of Defendant’s Website in that the Website is not properly coded to be compatible with

common screen reader software utilized by Plaintiff and others with visual disabilities.

        34.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities the opportunity to participate in or benefit from the goods, services, facilities,

privileges, advantages or accommodations of an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

        35.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 42 U.S.C. §

12182(b)(1)(A)(i).


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       36.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

individuals with disabilities an opportunity to participate in or benefit from the goods, services, facilities,

privileges, advantages or accommodations, which is equal to the opportunities afforded to other individuals.

42 U.S.C. §12182(b)(1)(A)(ii).

       37.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 42 U.S.C.

§12182(b)(1)(A)(ii).

       38.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

among other things: “a failure to make reasonable modifications in policies, practices or procedures, when

such modifications are necessary to afford such goods, services, facilities, privileges, advantages or

accommodations to individuals with disabilities, unless the entity can demonstrate that making such

modifications would fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations; and a failure to take such steps as may be necessary to ensure that no individual with a

disability is excluded, denied services, segregated or otherwise treated differently than other individuals

because of the absence of auxiliary aids and services, unless the entity can demonstrate that taking such

steps would fundamentally alter the nature of the good, service, facility, privilege, advantage or

accommodation being offered or would result in an undue burden.” 42 U.S.C. § 12182(b)(2)(A)(ii)-(iii);

see also 28 C.F.R. § 36.303(a).

       39.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 42 U.S.C. §

12182(b)(2)(A)(ii)-(iii) and 28 C.F.R. § 36.303(a).

       40.     Title III requires that “[a] public accommodation shall furnish appropriate auxiliary aids

and services where necessary to ensure effective communication with individuals with disabilities.” 28


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       C.F.R. § 36.303(c)(1). The regulation sets forth numerous examples of “auxiliary aids and

services,” including “...accessible electronic and information technology; or other effective methods

of making visually delivered materials available to individuals who are blind or have low vision.” 28

C.F.R. § 36.303(b).

       41.     By having a website which is not properly coded to be compatible with common screen reader

software utilized by Plaintiff and others with visual disabilities, Defendant is in violation of 28 C.F.R. §

36.303(b).

       42.     The acts alleged herein constitute violations of Title III of the ADA, and the regulations

promulgated thereunder. Plaintiff, who is blind and has disabilities that substantially limit the major life

activity of seeing within the meaning of 42 U.S.C. §§ 12102(1)(A) and (2)(A), has been denied full and

equal access to Defendant’s Website because of his disability. He has not been provided services that are

provided to other patrons who are not disabled, and/or have been provided services that are inferior to the

services provided to non-disabled persons. Defendant has failed to take any prompt and equitable steps to

remedy its discriminatory conduct. These violations are ongoing.

       43.     Pursuant to 42 U.S.C. § 12188 and the remedies, procedures and rights set forth and

incorporated therein, Plaintiff requests relief as set forth below.



                                         PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for:
        a.       A Declaratory Judgment that at the commencement of this action Defendant was in
                 violation of the specific requirements of Title III of the ADA described above, and the
                 relevant implementing regulations of the ADA, in that Defendant took no action that was
                 reasonably calculated to ensure that its Websites are fully accessible to, and
                 independently usable by, blind individuals;
        b.       A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR § 36.504 (a)
                 which directs Defendant to take all steps necessary to bring the Website into full
                 compliance with the requirements set forth in the ADA, and implementing regulations,

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                so that the Website is fully accessible to, and independently usable by, blind individuals,
                and which further directs that the Court shall retain jurisdiction for a period to be
                determined to ensure that Defendant has adopted and is following an institutional policy
                that will in fact cause Defendant to remain fully in compliance with the law—the specific
                injunctive relief requested by Plaintiff is described more fully in Paragraph 6 above;

        c.     Payment of c osts of suit;


        d.     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28 CFR §
               36.505; and,


        e.     The provision of whatever other relief the Court deems just, equitable and
               appropriate.



Dated: July 11, 2019                                Respectfully Submitted,
                                                    /s/ Alberto R. Leal.
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